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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )    Case No. 21-cr-00052
                                  )
WILLIAM PEPE                      )
                                  )
                Defendant         )
                                  )



     DEFENDANT’S MOTION TO CONTINUNE STATUS CONFERENCE




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      Defendant William Pepe by and through his counsel of record, William L.

Shipley, files this Motion to Continue Status Conference in this matter,

currently set for February 3, 2023 at 11:15 am.

      On January 28, 2023, Defendant Pepe was informed of the passing of his

grandfather. Family plans for the week including February 3 are uncertain,

and Defendant Pepe desires to give his family as much flexibility as possible in

attending to arrangements. Based on thereon, Defendant Pepe requests that

the Status Conference be vacated, with the parties directed to “meet and

confer” with respect to new date.

      Defendant Pepe agrees that time should be excluded under the Speedy

Trial Act to and through the rescheduled status conference in the interests of

justice and shall make a full statement to that effect on the record when the

status conferences takes place. Undersigned will confer with Government

counsel with proposed dates for availability.



Dated: January 28, 2023                    Respectfully submitted,

                                     /s/ William L. Shipley
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